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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS73 £72 9} ps1 sep

DANA ALBRECHT,

Plaintiff

Vv. Civil No.

CITY OF NEWBURYPORT, et. al.

Nee Ne Nee ee”

Defendants

MOTION FOR PRO SE PLAINTIFF TO PARTICIPATE IN ELECTRONIC FILING

NOW COMES Plaintiff Dana Albrecht, pro se, and respectfully requests for this
Court to permit Plaintiff to participate in electronic filing; and, in further support
thereof, states:

1. Pro Se Litigant is presently a party in the above case.
2. Pro Se Litigant is not presently incarcerated.

3. Pro Se Litigant represents that he is familiar with the PACER/ECF

electronic filing system.

4. Pro Se Litigant represents that he has been granted PACER/ECE electronic
filing privileges in other jurisdictions; e.g. the Uniteed States Court of
Appeals for the First Circuit, the United States District Court for the
District of New Hampshire, and the United States District Court for the
Middle District of Florida.

5. Pro Se Litigant represents that he has followed all relevant rules for
electronic filing in these jurisdictions and has never had his electronic filing
privileges revoked.
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WHEREFORE, Plaintiff respectfully requests relief as follows:

A) For this Court to grant Plaintiff electronic filing privileges in this matter;

and,

B) For other such other relief as the Court deems just and equitable.

Respectfully submitted,

Vo Mo ee

DANA ALBRECHT

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February 21, 2025.
